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                                                                                                   E-FILED
                                                                         Friday, 07 April, 2006 04:10:15 PM
                                                                              Clerk, U.S. District Court, ILCD

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA
                                Criminal No. 04-205 DWF/JSM

UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )
                                                      )
v.                                                    )
                                                      )
GERALD LIPPOLD,                                       )       Criminal Number 06-30002
CURRY READY MIX & BUILDERS’,                          )
SUPPLY, INC., CURRY ICE & COAL                        )
OF SPRINGFIELD, INC., and LIPPOLD &                   )
ARNETT, INC.                                          )
                                                      )
                       Defendants.                    )

              GOVERNMENT MOTION IN LIMINE REGARDING LACK
              OF ENVIRONMENTAL HARM AND JURY NULLIFICATION

                                         A. Introduction

       The United States of America by its attorneys Rodger A. Heaton, United States Attorney

for the Central District of Illinois, and Patrick J. Chesley, Assistant United States Attorney,

moves the Court in limine to bar any evidence, arguments, questioning, statements or allusions

that: (1) the defendants’ acts resulted in no harm to human health or the environment; and (2) the

jury should not follow the law or should engage in jury nullification.

                                     B. Factual Background

       The defendants are charged with knowingly discharging pollution to protected waters

without a National Pollutant Discharge Elimination System (“NPDES”) permit in violation of

Title 33 U.S.C. Sections 1311(a) & 1319(c)(2)(A), &18 U.S.C. Section 2. In order to establish

such a violation the government must prove: (1) the defendant knowingly caused the discharge

of a pollutant into a water; (2) the pollutant was discharged from a point source; (3) the water

was a water of the United States; and (4) the discharge was made without an NPDES permit.
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                    C. Harm-Related Evidence and Argument is Irrelevant
                       and More Prejudicial Than Probative

1.      Harm-related evidence and argument is irrelevant

        Rule 402 of the Federal Rules of Evidence (FRE) states that ?[e]vidence which is not

relevant is not admissible." FRE 402 thus bars irrelevant evidence from trial. FRE 401 defines

relevant evidence as ?evidence having any tendency to make the existence of any fact that is of

consequence to the determination of the action more probable or less probable than it would be

without the evidence." The substantive law that governs an action determines whether a fact is

?of consequence to the determination of the action." In a criminal case, the facts of consequence

“consist[] of elements of the offense charged and any relevant defenses to defeat criminal

liability.” United States v. Lamberty, 778 F.2d 59, 60-61 (1st Cir. 1985).

        The Indictment in this matter charges the defendants with knowingly discharging

pollution to protected waters without a NPDES permit. While the Clean Water Act (CWA) is an

environmental protection law, environmental harm is not an element of the offense charged in

this case. Nor is the United States aware of any defense to which harm-related evidence could be

relevant. Therefore, harm-related evidence is not ?of consequence to the determination of this

action" and is irrelevant in this case.

        The case law supports this conclusion. In the context of a civil enforcement action under

the CWA, the Seventh Circuit Court of Appeals in United States v. Kelly, 203 F.3d 519, 522-23

(7th Cir. 2000), recognized that the defendant’s argument that their actions caused no

environmental harm misses the point. The court in that case said that the point is whether the

defendant had a permit for his activities.



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       In Kelly the defendants violated 33 U.S.C. §§1319(d) and (g). Those sections provide for

the imposition of civil and administrative penalties for persons who violate 33 U.S.C. §1311(a).

As it pertains to this case, that same section prohibits the discharge of pollutants unless a NPDES

permit is obtained.1/

       The exact same statutory structure that was considered in Kelly applies to the criminal

offense charge in this case with the exception that the criminal offense requires the offense to be

committed knowingly. Aside from the knowledge requirement, the same conduct establishes

violations of §1319(c)(2) and §§§1319(d) and (g). Therefore, Kelly stands for the proposition

that environmental harm is not required for a §1319(c)(2) violation.

       Case law from other circuits also support the government’s position that environmental

harm is not an element of the offense charged in this case. In United States v. Iverson, 162 F.3d

1015, 1021 (9th Cir. 1998) the court stated that the defendant violated the CWA “irrespective of

any effect that his discharges had on the water.” Therefore, the trial court did not err when it:

refused to allow the defendant’s expert to testify about the effect that the discharges had on the

water; refused to instruct the jury concerning the effect of the defendant’s discharges on the

water; and denied the defendant’s motion for acquittal because the government had not proved

the effect on the water. In Minnehaha Creek Watershed Dist. v. Hoffmann, 597 F.2d 617, 626-

27 (8th Cir. 1979) the court held that the CWA does not require proof of an alteration in water

quality before the addition of a particular substance to a navigable water can be classified as a

discharge of a pollutant. See also, Avoyelles Sportmen’s League, Inc. v. Marsh, 715 F.2d 897,

919 n. 37 (5th Cir. 1983); Chesapeake Bay Foundation v. Bethlehem Steel Corp., 652 F.Supp.


       1
        None of the other exceptions in §1311(a) apply to this case.

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620, 631-32 (D. Md. 1987) (magnitude of permit violations is not relevant to determining

existence of a violation); Connecticut Fund For the Environment v. Stewart-Warner Corp., 631

F.Supp. 1286, 1288-89 (D. Conn. 1986)(permit violations are not required to be “statistically

significant” to establish a violation of the CWA).

       The government has been unable to locate any case that either requires environmental

harm as an element of an offense for discharging pollutants without a NPDES permit or permits

it as a defense to such a charge.

       Since environmental harm is not required by the CWA or applicable case law and since it

does not create an affirmative defense, such evidence and related arguments are entirely

immaterial and irrelevant to a determination of guilty or innocence to the charge in this case. As

a result, such evidence and argument have no probative value. They do, however, have the

potential for prejudice, confusion and waste of time.

2.     Harm-related evidence and argument will cause prejudice, confusion and waste of
       time

       FRE 403 states that, ?[a]lthough relevant, evidence may be excluded if its probative value

is substantially outweighed by the danger of unfair prejudice, confusion of the issues, or

misleading the jury, or by considerations of undue delay [or] waste of time . . . ." The Court has

broad discretion to exclude evidence under FRE 403. Eastern Natural Gas Corp. v. Aluminum

Company of America, 126 F.3d 996, 1001 (7th Cir. 1997), cert. denied 523 U.S. 1118 (1998); see

also United States v. Just, 74 F.3d 902, 904 (8th Cir. 1996). Even if the Court determined that

harm-related evidence was relevant here, the prejudice, confusion and waste of time that such

evidence would cause substantially outweighs any probative value that it could have.




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       The largest problem with attempting to incorporate harm-related evidence into this matter

is that harm-related evidence would mislead the jury, by suggesting that the jury must somehow

find that the defendants harmed human health and the environment to convict the defendants. As

stated above, this is legally incorrect. Harm-related evidence or argument could also unfairly

prejudice the jury by suggesting that the defendants’ crimes are trivial, an impermissible

argument.

       Another problem with introducing harm-related evidence is that neither the CWA nor any

other environmental statute defines harm. This is again because no environmental statute uses

harm as an element of any violation. Debating a formless standard before a jury could only

waste time and cause undue delay.

       Another problem is that any attempt to create such a standard from whole cloth would be

highly technical, requiring expert knowledge to establish. Therefore, harm-related evidence

would cause confusion, by subjecting the jury to a series of complex and unhelpful debates

between competing technical experts. Harm-related evidence would cause unfair prejudice, by

infecting the entire case with its confusion when the jury tried to apply these irrelevant debates

to determining whether the United States has proved the actual elements of the defendants’

crimes. Harm-related evidence would finally cause undue delay and waste time, by consuming

time with complex and unhelpful discussions.

       Accordingly, the United States asks the Court to exclude all harm-related evidence and

argument in this matter under both FRE 402 and 403.




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                                       D. Jury Nullification

        It is proper for a district court to prohibit defense counsel from arguing that the jury

should not follow the law or that the jury should engage in jury nullification. United States v.

Brown, 548 F.2d 204, 210 (7th Cir. 1977). The First Circuit Court of Appeals reached the same

conclusion when it held that “a trial judge . . . may block defense attorneys’ attempts to serenade

a jury with the siren song of nullification.” United States v. Sepulveda, 15 F.3d 1161, 1190 (1st

Cir. 1993).

        There is no question that a jury has the power to engage in jury nullification, but “this

power of the jury is not a right of the defendants’. Although a nullification verdict is accepted as

a natural aberration under our system, ‘it is not to be positively sanctioned by instructions [or

arguments] . . . which would encourage a jury to acquit . . . regardless of the applicable law or

proven facts.’” United States v. Dougherty, 473 F.2d 1113, 1137 (D.C. Cir. 1972).

        The Seventh Circuit adopted the reasoning of the court in Dougherty in declining to

reverse a criminal conviction based on the district court’s refusal to give a nullification

instruction. United States v. Anderson, 716 F.2d 446 (7th Cir. 1983). In Anderson, the court held

that explicit instructions sanctioning jury nullification pose too great a threat to the rule of law.

Id. at 450.

        Arguments to the jury on the issue of nullification would be equally as threatening as

written instructions. United States v. Sloan, 704 F.Supp. 880, 884 (N.D. Ind. 1989). In Sloan

the district court granted the government’s motion in limine regarding jury nullification

arguments.




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                                          F. Conclusion

       For all of the above reasons, the United States requests that the Court grant this motion in

limine and bar any evidence, arguments, questioning, statements or allusions that: (1) the

defendants’ acts resulted in no harm to human health or the environment; and (2) the jury should

not follow the law or should engage in jury nullification.



Respectfully submitted,

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                                 CERTIFICATE OF SERVICE


        I hereby certify that on April 7, 2005, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to the
following:


                               Tom Schanzle-Haskins
                               Claire A. Manning
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                                                             s/ Patrick J. Chesley




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